. Case 1:19-cr-00018-AB.] Document 20 Filed 01/31/19 Page 1 of 2

FILED

uNlTEo sTATEs oisTRlcT count JAN 3 l 2019
THE D‘STR'CT OF COLUMB'A clara u.s. maine s Bankrupu-,y
Courts for tile Dislrlcl of Columbla

United States of America Crimina| Docket No. 1:19-cr-00018
v. lodge Amy Berman lackson&
\KL 05 N`\\sl 63 grid

Roger J. Stone, Jr.,
oefendanr .~.&'z;rxf:, \~\i`) (§\L. ake

Motion For l.eave To File This Motion To intervene ll\'c, h ft\ \@ \\\ h v,\'{'v"tkd_

The greatest legal, political and ethical transgression of my lifetime was when President Ford pardoned m r))
President Nixon. Our world today is a direct result of that pardon. Life has come full circle and you have a ‘

iii \.-» “'
chance to rectify that mistake. Roger Stone worked for Nixor\ and it is reported that he has a tattoo of him 6
on his shoulder. Roger Stone is cancer of the worst kind. l 120 | q
l
Our country is counting on you. As you can see the United Sates of America is spira|ing out of control. Our
country has accelerated into unrecoverable chaos since | first filed with you in the Manafort Case. \f'\\»k '\ §§
, j

Americans have a Constitutional Right to this information. There is no other source for it. | arn asking to
be heard, | am not asking for you to rule in my favor. You know my intentions are honorable | took an QUL*{:)
oath to protect my fellow Americans and that is what l am doing. ~"

o\\
Each of the judges in the following cases has publicly docketed my pleadings Four (*) of the ludges have
not ruled on my Motions to Join. The cases represent: minors suing the government about climate change, `
free speech, heaith care, immigrants, election tampering, etc.

Mankind will cease to exist by 0ctober 12"‘, 2050 if we don’t change the narrative and dialogue.

Remember that it was Attorney Genera| Matthew Whitaker that represented me in 2011 when l was
falsely arrested. | can’t invent the stuff that has happened to me in my quest to protect my fellow
Americans. | will prevail. Judges are actually using my name and are placing my pleadings in the public
docket. | pray that you do the same. Honor the First Amendment.

*State of Mary|and v. United States of America (1:'.18-cv-02849) District Court, D. Mary|and

ludge El|en Hol|ander

*State Of New York v. Dona|d Trump {1:17-cv~05228) District Court, E.D. New York ludge Nicho|as Garaufis
*Pen American Center, |nc. v. Trump (1:18~cv-09433} District Court, S.D. New York Judge Lorna Schofie|d
.lu|iana v. United States of America (6:15-cv-01517) District Court, D. Oregon Judge Ann Aiken

"‘CORSI y. MUELLER (1:18-cv-02885) District Court, District of Co|umbia Judge El|en Huve||e

Christenson v. Democratic Nationa| Committee {1:18-cv-05769) District Court, S.D. New Yori<

judge Co||een N|c|V|ahon

Democratic Nationa| Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D. New York
Judge John Koe|tl

Attachment 1: N'|otion to join Pen American Center, |nc. v. Trump (l:lS-cv-09433) District Court, S.D. New
York Judge Lorna Schofie|d (2 of 84 pages]

. Case 1:19-cr-00018-AB.] Document 20 Filed 01/31/19 Page 2 of 2

Attachment 2: Motion to Join State of Mary|and v. United States of America {1:18~cv~02849) District Court,
D. Mary|and ludge El|en Hol|ander (1 of 5 pages)

Godspeed

   

id Andrew h ` enson

Box 9063

Nliramar Beach, F|orida 32550
504-715-3086
davidandrewchristenson@gmai|,com
dchristenson&@hotmai|.com

    
  

l hereby certify that on Januar

egoing with the C|erk of Court and
served the plea » ing . '

- -irst-c|ass mai|.

David Andrew Christenson

